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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           2:03-CR-00535-DLJ
                                   )
12                  Plaintiff,     )           FINAL ORDER OF FORFEITURE
                                   )
13             v.                  )
                                   )
14   CARLO MIRELES,                )
                                   )
15                  Defendant.     )
     ______________________________)
16
17        WHEREAS, on or about December 21, 2004, this Court entered a
18   Preliminary Order of Forfeiture pursuant to the provisions of 18
19   U.S.C. § 981(a)(1)(C), incorporating 28 U.S.C. § 2461(c) and/or 18
20   U.S.C. § 982(a)(1), based upon the plea agreement entered into
21   between plaintiff and defendant Carlo Mireles forfeiting to the
22   United States the following property:
23             a.     $102,274.12 in the form of check number 082065
                      from Fidelity National Title Agency as the sub
24                    res in lieu of the real property located at 9961
                      Cerbat Court, Las Vegas, Nevada, APN: 177-26-
                                                              1
25                    612-048, recorded owner Carlo R. Mireles ;
26             b.     $19,788.58 in the form of a check seized on or
27
          1 See the Stipulation and Order Regarding Sale of Real Property
28   filed November 9, 2004, in this action.

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 1                    about March 5, 2004, in Sacramento, California
                      by the Internal Revenue Service - Criminal
 2                    Investigation in lieu of the real property
                      located at 87-3199 Kaohe Road, Captain Cook,
 3                    Hawaii; and
 4               c.   $10,185.00 in the form of cashier's check number
                      0648203258 seized on or about May 28, 2004, in
 5                    Sacramento, California in lieu of a 2003 Harley
                      Davidson FXSTSI, Springer Softail.
 6
 7        AND WHEREAS, on March 7, 14, and 21, 2005, the United States
 8   published notification of the Court's Preliminary Order of
 9   Forfeiture in The Daily Recorder (Sacramento County), a newspaper of
10   general circulation located in the county in which the subject
11   property was seized.    Said published notice advised all third
12   parties of their right to petition the court within thirty (30) days
13   of the publication date for a hearing to adjudicate the validity of
14   their alleged legal interest in the forfeited property;
15        AND WHEREAS, the Court has been advised that no third party has
16   filed a claim to the subject property, and the time for any person
17   or entity to file a claim has expired.
18        Accordingly, it is hereby ORDERED and ADJUDGED:
19        1.    A Final Order of Forfeiture shall be entered forfeiting to
20   the United States of America all right, title, and interest in the
21   above-listed property pursuant to 18 U.S.C. § 981(a)(1)(C),
22   incorporating 28 U.S.C. § 2461(c) and/or 18 U.S.C. § 982(a)(1), to
23   be disposed of according to law, including all right, title, and
24   interest of Carlo Mireles.
25        2.    All right, title, and interest in the above-described
26   property shall vest solely in the name of the United States of
27   America.
28        3.    The Department of Treasury shall maintain custody of and

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 1   control over the subject property until it is disposed of according
 2   to law.
 3        SO ORDERED THIS      3rd    day of    October     , 2007.
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 5
                                       D. LOWELL JENSEN
 6                                     United States District Judge
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